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                        UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF FLORIDA (FT. LAUDERDALE)

                                Case No. 0:19-cv-60752-RAR – Ruiz

  BRENDA BELL, individually and on behalf              CLASS ACTION
  of others similarly situated

         Plaintiff,

         v.

  ROYAL SEAS CRUISES, INC.,

        Defendant.
  __________________________________/

                        DEFENDANT’S MOTION FOR LEAVE TO FILE
                      AMENDED ANSWER AND AFFIRMATIVE DEFENSES

         Defendant Royal Seas Cruises, Inc. (“RSC”), through its undersigned counsel and

  pursuant to Fed. R. Civ. P. 15(a), moves this Court for leave to file an Amended Answer and

  Affirmative Defenses (a copy of which is attached hereto as Exhibit A) (the “Amended

  Answer”), and states the following:

         1.      Plaintiff filed her Class Action Complaint on March 22, 2019, and served it six

  (6) days later. See Dkt. Nos. 1 and 7.

         2.      RSC filed its Answer and Affirmative Defenses (“Answer”) on May 9, 2019. See

  Dkt. No. 13.

         3.      At the time of filing its Answer, RSC was not aware that Plaintiff had agreed to

  arbitrate the claims in her Class Action Complaint. Of course Plaintiff failed to mention it and

  RSC was still in the process of conducting the investigation into Plaintiff’s claims.

         4.      As soon as RSC learned that Plaintiff had agreed to arbitrate her claims, and had

  received a Declaration affirming the same, the undersigned promptly notified counsel for




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  Plaintiff, via email, and provided proof of the arbitration agreement. See Ex. B.1 This was done

  just six (6) days after RSC’s time had lapsed to amend its responsive pleading as a matter of

  course. See Fed. R. Civ. P. 15(a)(1).

          5.       Still, Plaintiff would not provide written consent to allow RSC to amend its

  Answer under Fed. R. Civ. P. 15(2), see Ex. C, so RSC must obtain the Court’s leave to do so.

          6.       This Motion is not made in bad faith or for dilatory reasons, is not a futile request

  and does not unduly prejudice Plaintiff.             Yet, for some unknown and unexplained reason,

  Plaintiff is opposing the relief sought by way of this Motion – simply a requested amendment of

  a pleading filed a few weeks ago.

          7.       By this Motion, RSC seeks leave to file the Amended Answer. The proposed

  amended pleading does not change any of RSC’s responses to Plaintiffs’ allegations except to

  deny that this Court has subject matter jurisdiction as a result of Plaintiff’s agreement to arbitrate

  her claims. The agreement to arbitrate, and Plaintiff’s waiver of her right to file or participate in

  a class action or class arbitration, are also asserted as Affirmative Defenses in the Amended

  Answer.2

                                         MEMORANDUM OF LAW

          Pursuant to Fed. R. Civ. P. 15(a), with limited exceptions not applicable here, a party

  may amend its pleadings only by leave of court, which the Rule provides “should freely give

  leave when justice so requires.” See also, e.g., Foman v. Davis, 371 U.S. 178, 182 (1962)

  (explaining that “this mandate is to be heeded”). Accordingly, “timely motions for leave to



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    The email with the proof of the arbitration agreement contained confidential information and is subject to Federal
  Rule of Evidence 408, and is therefore not attached to this motion. However, counsel’s follow up email, sent on the
  same day, notified Plaintiff’s counsel of RSC’s intention to seek leave to amend RSC’s Affirmative Defenses to
  include the class action waiver and arbitration as a defense, and to move to compel arbitration.
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    RSC has also filed a Motion to Compel Arbitration and Dismiss Plaintiff’s Class Action Complaint simultaneously
  with this Motion.


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  amend are held to a very liberal standard,” and “the Court must provide substantial justification

  if it denies a timely filed motion for leave to amend.” Smith v. Trans-Siberian Orchestra, 728 F.

  Supp. 2d 1315, 1318 (M.D. Fla. 2010) (citing Laurie v. Ala. Court of Crim. App., 256 F.3d 1266,

  1274 (11th Cir. 2001)). “Substantial reasons justifying a denial include undue delay, bad faith,

  dilatory motive on the part of the movant, . . . undue prejudice to the opposing party by virtue of

  allowance of the amendment [and] futility of allowance of the amendment.” Laurie, 256 F.3d at

  1274 (internal quotation omitted).

         Here, there is no undue delay, bad faith, or dilatory motive on RSC’s part in seeking

  leave to file the Amended Answer, and there is no undue prejudice to Plaintiff. This motion is

  being filed less than a month after RSC could have amended its pleading as a matter of course.

  RSC attempted to amend its pleading without leave of court by seeking Plaintiff’s written

  consent to allow RSC to amend its Answer under Fed. R. Civ. P. 15(2) – just six (6) days after

  RSC’s time had lapsed to amend its responsive pleading as a matter of course – but Plaintiff

  refused. Thus, this motion is timely and is not brought in bad faith or for dilatory reasons, and

  does not unduly prejudice Plaintiff.

         WHEREFORE, RSC requests that the Court enter an Order granting RSC leave to file the

  proposed Amended Answer, and such other and further relief as the Court deems just and proper.

                           CERTIFICATE OF GOOD FAITH
                    CONFERRAL PURSUANT TO LOCAL RULE 7.1(a)(3)

         Counsel for the movant has conferred with all parties or non-parties who may be affected

  by the relief sought in the motion in a good faith effort to resolve the issues raised in the motion

  and has been unable to do so.

  Dated: June 25, 2019                          Respectfully submitted,

                                                By:     /s/ Gregg I. Strock



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